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                             IN THE UNITED STATES DISTRICT
                                                  I
                                                           COURT
                                FOR THE DISTRICT OF DELAWARE
                                                                 1




CAEINC.,                                             )
                                                     )
                           Plaintiff,                )           I

       v.                                            ~ clA. No. 15-924 (LPS)
                                                     )       I

GULFSTREAM AEROSPACE                                 )
CORPORATION and FLIGHTSAFETY                         )
INTERNATIONAL, INC.,                                 )
                                                     )
                           Defendants. ·             )
                                                             I

                        ~                SCHEDULINGIORDER

  .    This       ~~~of October, 2017, the Court hating conducted an initial Rule 16 scheduling
and planning conference pursuant to Local Rule +.2(a) on October 2, 2017, and the parties

having determined after discussion that the          matt~r           cannot be resolved at this juncture by
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settlement, voluntary mediation, or binding arbitratiqn;
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       IT IS ORDERED that:

       1.           Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard. The parties
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shall make their initial disclosures pursuant to FJderal Rule of Civil Procedure 26(a)(l) on

October 9, 2017. If they have not already done so,           ~he parties are to review the Court's Default
                                                             i
Standard          for   Discovery       of   Electronic      1       Documents,   which    is   posted    at

http://www.ded.uscourts.gov (see Orders, etc., Poltes & Procedures, Ad Hoc Committee for

Electronic Discovery), and is incorporated herein by reference.

       2.           Joinder of Other Parties and Amendment of Pleadings. All motions to join other
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parties, and to amend or supplement the pleadings, shall be filed on or before December 14, ·

2017, except if a dismissal motion is made with relpect to one or more counterclaims, the last

day to amend counterclaims is 30 days after the
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                                                         Co~' s ruling on the motion.
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       3.       Discovery. Unless otherwise ordered by the Court, the limitations on discovery

set forth in Local Rule 26.1 shall be strictly observed.
                                                            I
                a.     Discovery Cut ·off. All fact discovery in this case shall be initiated so that
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it will be completed on or before September 17, 2018.
                                                            I

                                                            I        .

                b.     Document Production.           Document
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                                                               production shall be substantially
                                                            I

complete by February 16, 201'8.

                c.     Requests for Admission. A maximum of fifty (50) requests for admission
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are permitted for each side.
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                d.     Interrogatories.
                                                        I                .
                       i.      A maximum of           ~enty-five              (25) interrogatories, including
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contention interrogatories, are permitted for each si4.
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                       ii.     The Court encourag~s the parties to serve and respond to

contention interrogatories early in the case. In thf absence of agreement among the parties,

contention interrogatories, if filed, shall first be adduessed
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                                                               by the party with the burden of proof.
                                                            [.
The adequacy of all interrogatory answers shall ble judged by the level of detail each party

provides; i.e., the ~ore detail a party provides, the mbre detail a party shall receive.

                e.     Depositions.       ·             I
                       i.      Limitation on Hours Ifor Deposition Discovery.                    Each side is

limited to a total of eighty-eight (88) hours of takiJg non-expert testimony by deposition upon

oral examination.
                                                        I
                                                        •

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                       11.     Location of Depositions.                  Any party or representative (officer,
                                                        I
director, or managing agent) of a party filing a civil action in this district court must ordinarily be
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required, upon request, to submit to a deposition at a place designated within this district.




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    Exceptions to this general rule may be made by order of the Court. A defendant who becomes a
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    counterclaimant, cross-claimant, or third-party plaintiff shall be considered as having filed an

    action in this Court for the purpose of this provision.

                    f.     Disclosure of Expert Testimony.
                                                              i
                           i.      Expert Reports. For tµe party who has the initial burden of proof
                                                              I
    on the subject matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or
                                                              I
                                                              I
    before November 15, 2018. The supplemental disclosure to contradict or rebut evidence on the

    same matter identified by another party is due on     J       before December 21, 2018. Reply expert

    reports from the party with the initial burden of proJ are due on or before January 31, 2019. No

    other expert reports will be permitted without eithL the consent of all. parties or leave of the
-                                                             I

    Cotirt.. Along with the submissions of the expert re,orts, the parties shall advise of the dates and

    times of their experts' availability for deposition. No expert depositions may be taken by either

    party withollt either the consent of all parties or leavl of the Court after March 29, 2019.
                                                              I
                           ii.     Objections to Expert irestimony. To the extent any objection to
                    -                                         I
    expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow
                .                                             I
    Pharm., Inc., 509 U.S. 579 (1993), as incorporated lin Federal Rule of Evidence 702, it shall be
                                                              I
    made by motion no later than the deadline for ~ispositive motions set forth herein, unless

    otherwise ordered by the Court.                           I
                                                              I
                    g.     Discovery Matters and Disputes Relating to Protective Orders.
                                              '               i                      '
                           i.      Any discovery motidn filed without first complying with the

    following procedures will be denied without prejudiL to renew pursuant to these procedures.

                           ii.     Should counsel find, Iafter good faith efforts-including verbal
                                                              I
    communication among Delaware and Lead Counsel for all parties to the dispute-that they are
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                                                          I



unable to resolve a discovery matter or a dispute! relating to a protective order, the parties
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involved in the discovery matter or protective otder dispute shall submit a joint letter in
                                                          I
substantially the following form:                         I




               Dear Judge Stark:                          I




                                                          II
                       The parties in the above-refer~.mced matter write to request the scheduling
               of a discovery teleconference.         I
                                                .         i


                      The following attorneys, incl~ding at least one Delaware Counsel and at
               least one Lead Counsel per party, ~articipated in a verbal meet-and-confer (in
               person and/or by telephone) on the following date(s): _ _ _ _ _ _ _ _ __

               Delaware Counsel:
                                                          I
                                                          i
               Lead Counsel:                              1


                                                          I
                                                          I
                          The disputes requiring judicia~ attention are listed below:
                                                          I

                                                          I
               [provide here a non-argumentative list of disputes requiring judicial attention]
                                                          I


                          iii.    On a date to be set by separate order, generally not less than forty-

eight (48) hours prior to the conference, the party seleking relief shall file with the Court a letter,

not to exceed three (3) pages, outlining the issues in\dispute and its position on those issues. On
                                                          i
a date to be set by separate order, but generally not !less than twenty-four (24) hours prior to the
                                                          i

conference, any party opposing the application for       r~liefmay file a letter, not to exceed three (3)
pages,        outlining          that      party's            reasons    for       its       opposition.

                          iv.     Each party shall subn}it two (2) courtesy copies of its discovery

letter and any attachments.                               I
                          v.     . Should the Court find I further briefing necessary upon conclusion
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                                                          I
of the telephone conference, the Court will order it. Alternatively, the Court may ·choose to
                                                          I
                                                          I


resolve the dispute prior to the telephone confe~ence and will, in that event, cancel the

conference.                                               I




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         4.     Motions to Amend.

                a.     Any motion to amend (including a motion for leave to amend) a pleading
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shall NOTbe accompanied by an opening brief but shall, instead, be accompanied by a letter, not
                                                         I
                                                         I
to exceed three (3) pages, ·describing the basis for the requested relief, and shall attach the

proposed amended pleading as well as a "blackline" bomparison to the prior pleading.
                                                         i
                                                         I

                b.     Within seven (7) days after t~e filing of a motion in compliance with this
                                                         i
Order, any party opposing such a motion shall         fil~   a responsive letter, not to exceed five (5)

pages.

                c.     Within three (3) days thereafter, the moving party may file a reply letter,

not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a
                •                                        I




teleconference to address the motion to amend.

         5.     Motions to Strike.

                a.     Any motion to strike any p leading or other document shall NOT be
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                                                         I
accompanied by an opening brief but shall,    instead~       be accompanied by a letter, not to exceed
                                                         I




three (3) pages, describing the basis for the requested relief, and shall attach the document to be
            .                                            I

stricken.                                                                                      ·
                                                         i
                b.     Within seven (7) days after the filing of a motion in compliance with this

Order, any party opposing such a motion shall fil~ a responsive letter, not to exceed five (5)
                                                         I


pages.

                c.     Within three (3) days thereaft,er, the moving party may file a reply letter,
                                                         I

not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a
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                                                         !
teleconference to address the motion to strike.




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       6.      Application to Court for Protectivd Order.             Should counsel find. it will be

necessary to apply to the Court for a protective orher specifying terms and conditions for the

disclosure of confidential information, counsel shou~d confer and attempt to reach an agreement .
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·on .a proposed form of order and submit it to the cohrt
                                                     I
                                                         within ten (10) days from the date of this
                .                               -         I

Order. Should counsel be unable to reach an agrettment on a proposed form of order, counsel
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must follow the provisions of Paragraph 3(g) abo~e. Counsel submitted alternative proposed
                                                          I

forms of protective order to the Court on September 26, 2017.
                                                          I
                                                          I
       Any proposed protective order must include ~he following paragraph:
                                                          I



               Other Proceedings. By entering lhis order and limiting the
               disclosure of information in this easel the Court does not intend to
               preclude another court from findirtg that information may be
               relevant and subject to disclosure inlI another case. Any person or
               party subject to this order who becpmes subject to a motion to
               disclose another party's information ~esignated "confidential" [the
               parties should list any other level 0£ designation, such as "highly
               confidential," which may be provide:d for in the protective order]
               pursuant to this order shall promptly ip.otify that party of the motion
               so that the party may have an opportunity
                                                      I
                                                              to appear and be heard
               on whether that information should be disclosed.
                                                          I


       7.      Papers Filed Under Seal. When filidg papers under seal, counsel shall deliver to

the Clerk an original and one (I) copy of the           pa~ers.   In accordance with section G of the
                                                          I

Administrative Procedures Governing Filing and i Service by Electronic Means, a redacted
                                                          I
                                                          I
version of any. sealed document shall be filed electrqnically within seven (7) days of the filing of
                                                          I
                                                          I
the sealed document.                                      I                                        .



       8.      Courtesy Copies. The parties shall Jrovide to the Court two (2) courtesy copies
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of all briefs and one (1) courtesy copy of any other ~ocument filed in support of any briefs (i.e.,
                                                          I
                                                          I
                                                          !

appendices, exhibits, declarations, affidavits etc.). !This provision also applies to papers filed

under seal.                                               ~




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         9.    ADR Process.       This matter is referred to a magistrate judge to explore the

possibility of alternative dispute resolution.

         10.   Interim Status Report. On February 28, 2018, counsel shall submit a joint letter to

the Court with an interim report on the nature of the matters in issue and the progress of

discovery to date.     Thereafter, if the Court deems it necessary, it will schedule a status

conference.                                            I

                                                      iI

         11.    Case Dispositive Motions. All easel dispositive motions, an opening brief, and

affidavits, if any, in support of the motion shall be served and filed on or before April 19, 2019.

Briefing will be presented pursuant to the Court's: Local Rules. No case dispositive motion
                                                       !


under Rule 56 may be filed more than ten (10) days before the above date without leave of the

Court.

         12.   Applications by Motion. Except as      o~herwise   specified herein, any application to
                                                       I
the Court shall be by written motion filed with the i Clerk. Any non-dispositive motion should

contain the statement required by Local Rule 7.1.1.
                                                       I


         13.   Pretrial Conference.      On August    ~O,   2019, the Court will hold a pretrial

conference in Court with counsel beginning at 11 '.:OO a.m. Unless otherwise ordered by the

Court, the parties should assume that filing the pretrial order satisfies the pretrial disclosure
                                                       '
                                                       I

requirement of Federal Rule of Civil Procedure 26(a)(3). The parties shall file with the Court the

joint proposed final pretrial order with the inform4tion required by the form of Final Pretrial
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Order which accompanies this Scheduling Order'. on or before August 20, 2019.                  Unless

otherwise ordered by the Court, the parties shall cobply with the timeframes set forth in Local
                                                       i                 .


Rule 16.3(d)(l)-(3) for the preparation of the joint proposed final pretrial order. The Court will
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advise the parties at or before the above-schedulJ pretrial conference whether an additional

pretrial conference will be necessary.                   I
                                                         I

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          14.     Motions in Limine. Motions in   limin~     shall not be separately filed.· All in limine
                                                         I                .


requests and responses thereto shall be set forth in the proposed pretrial order. Each party shall

be limited to three (3) in limine requests, unless   oth~rwise permitted by the Court. The in limine
request and any response shall contain the authorities relied upon; each in limine request may be

supported by a maximum of three (3) pages of argu~ent and may be opposed by a maximum of
                                                         !



three (3) pages of argument, and the party making the in limine request may add a maximum of
                                                         i

one (1) additional page in reply in support of its reqvest. If more than one party is supporting or

opposing an in limine request, such support or oppotition shall be combined in a single .three (3)

page submission (and, ifthe moving party, a single Jne (1) page reply), unless otherwise ordered
                                                         I    .

                                                 i
by the Court. No separate briefing shall be submi~ed on in limine requests, unless otherwise
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                                                         I
permitted by the Court.                                  I




          15. ·   Jury Instructions, Voir Dire, and spJcial Verdict Forms. Where a case is to be
                                                         I
tried to a jury, pursuant
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                          to Local Rules 4 7 and 51 the
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                                                        parties should file (i) proposed voir dire,
                                                         I
                                                         I
(ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms three
                                                         !


(3) full business days before the final pretrial confer6nce.
                                                       I
                                                             This submission shall be accompanied
                                                         I
                                                         I

by a computer diskette containing each of the for bgoing four (4) documents in WordPerfect
                                                         1




format.                                                  I

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          16.     Trial.   This matter is scheduled for a jury trial beginning at 9:30 a.m. on
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September 9 and ending on September 20, 2019, ~ith the number and dates of trial days to be
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determined by the Court at a time closer to trial. Until the case is submitted to the jury for




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deliberations, the jury will be excused each day at 4:30 p.m. The trial will be timed, as counsel
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will be allocated a total number of hours in which to rese t their respecff cas .
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                                                Chief, Um e     ates District




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